Case 1:23-cv-02695-CJN Document1 Filed 09/14/23 Page 1of 3 /
CLEAR FORM

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

Jennifer Meco’
PLAINTIFF

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Address (No Post Office Boxes)

Dec B Ys 603 ) Case: 1:23-cv-02695 JURY TRIAL

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DEFENDANT » Jury Trial: Yes No

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